Public Office is Public Trust

5G has been said to be worse than the asbestos, tobacco and lead crisis.

The benefits of 5g are far outweighed by the damage it will cause and the costs of that damage.
Similar to asbestos, tobacco and lead we did not know in the beginning the cost it would be for
remediation later.

Climate Change caused by 5G has the potential to completely bankrupt The State of Michigan.

The outline of this Paper is as follows:
1) Problem: 5G Initiated Climate Change
2) List of Cities, Councils, States and Countries that have banned 5G
3) Scientific research documenting validity of EMF problem (non-industry funded scientific
studies, to avoid illegal conflict of interest and present factual information).
4) Court rulings acknowledging risk and harm.
5) Examples of legislature to avert the EMF caused climate change crisis.
6) Legal obligation of Michigan Legislators to uphold their Oath of Office to The Constitution of

The United States of America, The Michigan Constitution and The Public Trust Doctrine. ~

The Constitution of Michigan

Article 4, § 51 Public health and general welfare.
The public health and general welfare of the people of the state are hereby declared to be matters

of primary public concern. The legislature shall pass suitable laws for the protection and
promotion of the public health.

1) Problem: 5G Initiated Climate Change

“Consumer safety, health, and privacy, along with consumer wallets, have all been overlooked,
sacrificed, or raided due to unchecked industry influence.” Captured Agency, Norm Alster 2017

The Harvard Center for Ethics published an expose by Norm Alster on the financial ties inside the
FCC and how, as a result, the wireless industry has bought inordinate access to—and power over—a
major US regulatory agency. The FCC is a “captured agency”. It is controlled by the industry it is
supposed to be regulating- like the wolf watching the henhouse. The report describes how the telecom
industry is using the same playbook as tobacco. The Book exposes the culture of corruption, such as:
Large financial Investment into lobbying against the well-being of the public. The “revolving door”
between industry & regulators meaning that persons are moving from positions in the wireless industry
to positions in governmenit and vice versa. Tom Wheeler was once Head of the CTIA Wireless Industry

and then Head of the FCC. Undermining of the credibility of scientists finding damaging biological
effects. Cutting research monies for science on health effects. Designing and publishing contradictory

science, Trivializing highly credible scientists and experts who raise concerns. Misleading about a
“scientific consensus”. Pushing for minimal regulation. Refusal to examine the health evidence. Hyper
Aggressive legal action and research bullying. Illegal industry influence to Congressional committees.

“Tt is these hardball tactics that recall 20th century Big Tobacco tactics. These tactics
heighten suspicion that the wireless industry does indeed have a dirty secret. And it is those
tactics that intensify the spotlight on an FCC that so timidly follows the script of the
fabulously wealthy, bullying, billion-dollar beneficiaries ofwireless.https://ehtrust.org/key-

issues/harvard-press-book-telecom-industry-influence-us-fec-captured-agency/

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2) List of Cities, Councils, States and Countries That Have Banned 5G

1. Brussels is the first City to halt 5G due to adverse health effects.

“The people of Brussels are not guinea pigs whose health I can sell at a profit. We cannot leave
anything to doubt.” — Céline Fi remault, Minister of the Government (Brussels-Captial Region),
responsible for Housing, Quality of Life, Environment and Energy .
https://takebackyourpower.net/ brussels-first-maj or-city-to-halt-5g-due-to-health-effects/

2, UK Glastonbury Town Council has halted 5G due to adverse health effects.
https://www.somersetlive.co.uk/news/ local-news/ glastonbury-council-opposes-Sg-roll-29984 13

3. UK Frome Town Council has a moral responsibility to protect public health and the local
environment. Until there is more independent scientific consensus that 5G wireless radiation is
harmless to humans and the environment FTC adopis the precautionary principle and will not endorse
the roll out of 5G. https://www.frometowncouncil. gov.uk/frome-town-council.../

4, Ireland County Clare has halted 5G due to adverse health effects. http://www.clare.fm/news/clare-
county-council/motion-oppose-5g-rollout-clare-receives-council-backing/

5 Ireland Roscommon County halt 5g due to adverse health effects.
hittps://www.facebook.com/groups/796999407353013/permalink/ 877482035971416/

6. Ireland Leitrim Council 7. Ireland Sligo Banned 5G due to rising cancer rates and non-
insurable. 8. UK Totnes Devon 5G Moratorium 9. Australia halts 5G due to adverse health effects
https://www.activi stpost.com/2019/ 09/health-concerns-have-stopped-5¢-rollout-in-australia.himl?
foclid=IwAR2Fd2zrwQV_-SXb77j_WgZLIHBkULb4RqEi2ag7iF 3okov604iATA XAvz4

16. USA Portland Oregan March 2019 City officials state clear opposition to the installation of 5G
networks on health grounds, supported by the mayor and multiple commissioners.

11. Italy Florence March 2019 Florence applies the precautionary principle, refusing permissions for
5G https://digitalsurvivor.uk/.. ./precautionary-principle. ..

12. Russia March 2019 The Russian Ministry of Defense refuses to transfer frequencies for 5G,
which effectively delays any 5G roll out there for several years.

13. Netherlands April 2019 Members of Parliament in the Netherlands insist that radiation research
must be carried out before any approval of the 5G network.

14. USA California April 2019 California Supreme Court Justices unanimously uphold a 2011 San
Francisco ordinance requiring telecommunications companies to get permits requiring
demonstration of measuring radiation levels yearly before placing antennas on city infrastructure.

15. Switzerland Geneva April 2019 Geneva adopts a motion for a moratorium on 5G, calling on the
Council of State to request WHO to monitor independent scientific studies to determine the harmful

effects of 5G. https://www.letemps.ch/.../ geneve-adopte-une-motion-un...

16. Switzerland April 2019 The Canton of Vaud adopts a resolution calling for a moratorium on 5G
antennas until the publication of a report on 5G by the Swiss Federal Office for the Environment.
https://digitalsurvivor.uk/.. ./nard-cheese-for-swiss-5g. ../

17. USA District of Columbia August 2019. The US Court of Appeals for the District of Columbia
Circuit issued a decision substantially setting back the efforts of the Federal Communications
Commission to exnedite the deployment of SG technology. https://ehtrust.org/federal-court-overtums-

fec-order.../...
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18. Cyprus MPs want Health Hazard study prior to 5G
19. Switzerland 5G Opponents Legally Block 320 of 326 Antennas

20. Countries that Have Banned Huawei https://1.facebook.com/1.php?u=https73 A%2F
%2Fwww.statista.com%2Fchart?%2F 175 28%42F countries-which-have-banned-huawei-products%2F
%3Ffbclid%3DIwAR2MjQwwHw0L3Malc8jzHvmU4 W GykzF f2hUI9-hK Ox-
n4b634Uh3FD3XzPs&h=AT 1dS4QH2fj YxEgj-sRgzUCa5rWIHgd_LZkGi6 AT y025jTo2eF IZUOgqafIT}-
TDbL4hK JPMp WhhcSwDN209klicEe VRY byCOC£7F fpm5 zvlz6hMroU9_aQT1bGkVgTiLMpoJ8Cw

21. Italy 14 municipalities, including Rome, stopped 5G.
https://www.Sgexposed.com/2019/07/05/italy-stop-5 g-mayors-here-is-italys-first-suspension-order/?
foclid=IwAROWFV9-AuCiE-tensPxLITBxeA qUHtORJpYD-chWqtDuxABKSOvL1-_OIU

22, Malta Godfrey Farrugia MP will be tabling a 5G warning in Parliament. 23. Ireland Wicklow 7th
October 2019 Motion to Oppose 5G In Co. Wicklow was passed at Council Meeting.

24. UK Kingsbridge Devon, October 2019 Moratorium 25. UK Shepton Mallet October Moratorium

26. UK Brighton October 2019 5G Masts rejected. 27. France October 2019, French NGOs Demand
Moratorium on 5G Due to Its “Out of Control” Consequences On Society.

28. Bangladesh October 2019, The High Court issued 12-point directives including imposition of a ban
on installation of mobile or telecommunication towers on the rooftops of residential area, educational
institutions, hospitals, jail premises, heritage sites, playgrounds and places of worship.
http://www.newagebd.net/article/ 87920/hc-orders-removal-of-mobile-towers-from-sensitive-areas?
fbclid=IwAR1 Wyh7ckK NBo06XmQAzgO YOEI-L-VZCj TRQvVBzZsqZa_RdT_-ABzTE60Q

29. USA Louisianna June 2019 Louisiana Becomes First State to Call for Study on Health Impacts of
5G https://www.wakingtimes.com/2019/06/07/louisiana-becomes-first-state-to-call-for-study-on-
health-impacts-of-5g/? 30. Italy October 2019, Isabella Conti blocks the 5G in San Lazzaro

“Without guarantees on health effects, therefore, in San Lazzaro no new generation antennas. The 5G
radio frequencies, underlines Conti, “are completely unexplored: as administrators we cannot close our
eyes to the absence of scientific studies on the possible effects on health”

http://www. bolognatoday.it/cronaca/antenne-5 g-blocco-bologna-san-lazzaro. html?
foclid=IwAR3b3xQJIBYJN OQKpO2K3bBVMEw7ThXcD7_fu3pXV3PIBEyEpVHOSN: SAcobU

31. USA October 2019 New York becomes the next State to introduce a Bill to establish a Commission
to study the Health and Environmental effects of 5G 32. USA Encinitas, CA to ban 5G wireless
antennas near schools, daycares, residences and workplaces 33. France 2015 France: New National
Law Bans WIFI in Nursery School 34. UK Wellington Somerset. 2019 November, Wellington Town
Council have just invoked the Precautionary Principle. 35. UK Winchester 2019 November

ANNOUNCEMENT — Winchester CC responded and OBJECTED to the Government proposal to
support 5G deployment. 36. WALES Lampeter. November 2019. Lampeter Town Council passed a

motion urging that the precautionary principle be applied to the installation and roll out of 5G. The
motion was passed with overwhelming support, no votes against and only two abstentions.

37. LAOIS COUNTY, PRELAND — https://smombiegate.org/laois-county-ireland-to-suspend-5g-
due-to-health-concerns-non-coverage-by-insurance/

38. Germany, Bavaria November 2019 — Unanimous decision of Town Council to reject 5G.

The next page is an example of appropriate government response to the information that
scientifically states we are building a microwave around us and no one is measuring EMF levels

BL DROME CORR Y Vea ake sue

-this is illegal. We are destroying the food chain (pollinators), leading to widespread famine.
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Ireland Suspends 5G Due te Health Concerns & Non-Coverage by Insurance

November 2019
Public concerns around potential health hazards of 5G technology have led to calls for its rollout to be
suspended until these matters can be independently investigated and resolved.

Leading the charge for 5G to be put on hold until such time as public anxieties around its health and
safety can be allayed is Councillor Aisling Moran.

She called on the Minister for Communications, Richard Bruton to stop the rollout of 5G, fifth
generation cellular technology, across the country.

“We as a Council and public representatives have a moral and ethical responsibility to protect the
health and wellbeing of all our citizens.”

“There is a reason why insurance companies will not insure 5G, this needs to be investigated further
by an independent company with no prospect of financial gain,” she maintained.

“We all want broadband, but not at the expense of the public health.” said Councillor Dwane.

Councillor Padraig Fleming agreed that the matter of concerns around 5G had been raised repeatedly
on the doorsteps during this year’s local elections.

Councillor Tom Mulhall confirmed that those concerns are out there. “Technology is great, but where is
it all going to end up,” he asked?

“Why have countries like Germany and Belgium stopped the rollout of SG?

“There was hundreds of thousands of petitions signed and there are numerous reports from scientists
from all over the world stating that EMFs are a serious Health concern. Proof that they can have a
serious effect on our bodies. EMFs attack our Nervous system, our Endocrine system, causes stress,
insomnia, dementia, Alzheimer’s, attacks our DNA, which in turn can cause cancers and tumours, it
lowers fertility, lowers libido and can attack the DNA in sperm cells.

There is a rise globally in childhood cancers over the past 20 years.

Over 270 Scientist from all over the world have asked the European Commission to put a moratorium
on the rollout of 5G due to serious concerns over health issues caused from higher radiation exposure.

“Why have insurance companies like Lioyds excluded cover for illnesses caused by EMFs?

“Risk teams at global reinsurance firms have warned the Insurance Industry that unforeseen
consequences of EMF could lead to a raft of claims and significant liability losses in the next 10
years,” claimed Councillor Moran.

She added: “I’m not asking to halt progress, but rather that we slow down and get the true facts. So I’m
asking that we put a hold on the rollout of 5G until there is an independent evaluation of the impact
5G has on humans, wildlife and the environment.

“The Government is spending €3 billion to make high speed fiber broadband available to all our
citizens in a safe, secure and reliable form. Why do we need to put our citizen’s health at risk?

“Do the report and then talk about rolling it out. Let’s not be putting the cart before the ass,” she
concluded.

https://www.laoistoday.ie/201 9/11 /27/concerns-lead-to-calls-to-put-5g-roll-out-on-hold/

hitps:// smombiegate.org/laois-county-ireland-to-suspend-5 g-due-to-health-concerns-non-coverage-by-
insurance/
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3) Scientific Research Documenting Validity of EMF Problem
(non-industry funded, to avoid illegal conflict of interest)

5G: Great risk for EU,U.S. and International Health:
Evidence of Great Harm Caused by Electromagnetic Field (EMF)

Dr. Martin L. Pall, PhD Professor Emeritus of Biochemistry and Basic Medical Sciences
Washington State University ,

USAmartin_pall@wsu.edu

503-232-3883, May 2018

Summary: We know there is massive literature, providing a high level of scientific certainty, for
pathophysiological effects caused by non-thermal microwave frequency EMF exposures.

Such EMFs:

1.Attack our nervous systems including our brains leading to widespread effects.

2.Attack our endocrine (that is hormonal) systems. Thus the consequences of the disruption of these
two regulatory systems is immense, such that it is a travesty to ignore these findings.

3.Produce oxidative stress and free radical damage, which have central roles in all chronic diseases.
4. Attack the DNA of our cells, producing cancer and also mutations.

5 Produce elevated levels of apoptosis (programmed cell death), causing diseases and infertility.
6.Lower male and female fertility, lower sex hormones, lower libido and increased levels of
spontaneous abortion and, as already stated, attack the DNA in sperm cells.

7 Produce excessive intracellular caleium [Ca2+]i and excessive calcrum signaling.

8. Attack the cells of our bodies to cause cancer. Such attacks via 15 different mechanisms during

cancer causation.
https://ehtrust.org/wp-content/uploads/5 g-emf-hazards-dr-martin-].-pall-eu-em{2018-6-1 lus3.pdf

National Toxicology Program Cell Phone Radio Frequency Radiation Study 2018
NTP Studies & Findings

NTP conducted a two-year toxicology studies in rats and mice to help clarify potential health hazards,
including cancer risk, from exposure to RFR like that used in 2G and 3G cell phones which operate
within a range of frequencies from about 700-2700 megahertz (MHz). Published in November 2018.

The NTP studies found that exposure to RFR (900 MHz) used by cell phones was associated with:

Clear evidence of increase in heart tumors . The tumors were malignant schwannomas.
Some evidence of increase of brain tumors. The tumors were malignant gliomas.

. Some evidence of increase of adrenal gland tumors. The tumors were benign, malignant, or
complex combined pheochromocytoma.

NTP scientists found that RFR exposure was associated with an increase in DNA damage.

Specifically, RFR exposure was linked with significant increases in DNA damage in the brain and
the blood cells.

https://ntp.niehs.nih. gov/whatwestudy/topics/cellphones/index.html
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5G Destroys the Bodys Ability to Absorb Oxygen

Dr, Gabriel Cousens, MD

High-frequency 60GHz 5G has been scientifically proven to interfere with the adsorption of the
oxygen molecules we breathe. 5G’s 60GHz is the frequency of oxygen molecule absorption. If we
interfere with the orbital spin properties of diatomic oxygen’s (02) electrons via 5G, our ability to
absorb oxygen will be significantly hampered, creating slow suffocation. At 60GHz the frequencies
also impair the body’s ability to produce vitamin D and melanin. In this context, 5G and the 60 GHz
delivery system is an overt attack on the human body.

In 2015, 215 scientists from 41 countries communicated their alarm (about the potential of 5G) to the

United Nations (UN) and World Health Organization (WHO).[xvi] They stated that “numerous recent
scientific publications have shown that EMF [electromagnetic fields] affects living organisms at levels
well below most international and national guidelines”. More than 10,000 peer-reviewed scientific
studies demonstrate harm to human health from RF/MW radiation. [xvii] [xviii] Effects include:
. Alteration of heart rhythm[xix]
- Altered gene expression[xx]
Altered metabolism[xxi]
Altered stem cell development[xxii]
Cancers[xxiii]
Cardiovascular disease[xxiv]
Cognitive impairment[xxv]
DNA damage[xxvi]
» Impacts on general well-being[ xxvii]
Increased free radicals[xxviii]
Learning and memory deficits[xxix]
Impaired sperm function and quality[xxx]
Miscarriage[xxxi]
- Neurological damage[xxxii]
Obesity and diabetes[xxxiii]
Oxidative stress[xxxiv]
Autism[xxxv]
ADHD[xxxvi] [xxxvii]
© Asthma[xxxviii]
- Negative altered mental states, including increased depression, anxiety, and suicidal
tendencies[xxxix]

Damage goes well beyond the human race, as there is abundant evidence of harm to diverse plant- and
wildlife[xl] [xli] and laboratory animals, including ants, [tii] birds, Pxhii] [xliv] forests,[xlv] frogs, [xlvi]
fruit flies,[xlvii] honey bees,[xlviii] insects,[xlix] mammals,[I] mice,[1i] [Iii] plants, [liii] rats,[liv] trees,
[iv] and microbes. [lvi]

The Earth and the ionosphere and the lower atmosphere form the Global Electric Circuit in which we
live. It is well established that biological rhythms are controlled by Earth’s natural electromagnetic
environment, which is this global electric circuit. In essence, adding 20,000 SG satellites will further
pollute and potentially disrupt the global electric circuit[Ivii) [Iviii] and could alter the Schumann
Resonance, [lix] around which all life on Earth has evolved. By going global with 5G, we are not just

talking about damaging human evolution, but all life on planet earth.
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American Medical Association guidance to reduce harm from high intensity street lights

June 2016 CHICAGO — Arguments exist for overhauling the lighting systems on U.S. roadways
with light emitting diodes (LED), but conversions to LED technology can have adverse
consequences. In response, physicians at the Annual Meeting of the American Medical
Association (AMA) today adopted guidance for communities on selecting among LED lighting
options to minimize potential harmful human and environmental effects."Despite the energy
efficiency benefits, LED lights are harmful when used as street lighting,” AMA Board
Member Maya A. Babu, M.D., M-B.A. High-intensity LED lighting designs emit a large amount
of blue light that appears white to the naked eye and create worse nighttime glare than
conventional lighting. Discomfort and disability from intense, blue-rich LED lighting can
decrease visual acuity and safety, creating a road hazard. The detrimental effects of high-
intensity LED lighting are not limited to humans. For instance, poorly designed LED lighting
damages bird, insect, turtle and fish species. Recognizing the detrimental effects of poorly-
designed, high-intensity LED lighting, the AMA encourages communities to minimize LED
blue-rich environmental lighting.

The guidance adopted today by grassroots physicians who comprise the AMA's policy-making body
strengthens the AMA's policy stand against light pollution and public awareness of the adverse health
and environmental effects of pervasive nighttime lighting.

https://www.ama-assn.org/press-center/press-releases/ama-adopts-guidance-reduce-harm-hi gh-
intensity-street-lights
Case 1:20-cv-00324-JTN-PJG ECF No. 1-1, PagelD.16 Filed 04/15/20 Page 10 of 22

4) Court Rulings Acknowledging Risk and Harm

Federal Court Rules that 5G Small Cells Could Have Major Environmental Impact-Aug 2019

A telecom challenge to the National Environmental Policy Act (NEPA) was recently won by the
Natural Resources Defense Council (NRDC) and Native American tribes. A court ruling in August
2019 overruled the FCC arguments in favor of the NRDC and Native American tribes. This decision
has given cities a possible means to deny 5G “omall cell” towers, and maintain local control in their
placement, on the grounds there has been no NEPA review for 5G for both historic preservation as well
as impacts on the human environment.

In an article by NRDC attorney, Sharon Buccino states, “Local governments can condition approval
for new 5G cell construction upon compliance with state and federal requirements for environmental
review. While a local government cannot add new requirements for environmental review, it can
require proof that the necessary federal review has been done. Given the mounting evidence that
the FCC’ radio frequency limits are inadequate, such federal review should include an evaluation of
the adequacy of these limits.” https://mdsafetech.org/2019/ 12/08/nepa-the-nrde-and-5 g-neighborhood-

cell-towers/

5G/EMEF/LED Dangers Legally Acknowledged in Court Ruling 2019

Mark Steele, an Engineer and stop 5G campaigner, has been highlighting the dangers of a 5G rollout by
Gateshead Council, in the UK, where residents are complaining of increased illness and cancer in
the affected area. There’s enough evidence to conclude the new smart 5G arrays on the top of
new LED lampposts emit Class 1 Radiation frequencies and should be treated as a danger to the
Public. In reality, scientific evidence is mounting across the planet that LEDs, EME, RF, 3G, 4G,
5G, WiFI and SmartMeters are causing cancer, killing bees, driving out wildlife and lowering
peoples quality of life.

All because big business says it’s good for the people, and they’re continuing to mislead us all of the
dangers of continuous use in close proximity and on the skin, let alone what 5G really is, which is an
effective battlefield weapon.

He raises the questions: Who is paying for these 5G rollouts? Who’s given consent on behalf of
the People? Who has done research to prove the new infrastructure’s safety?

We will not willfully poison our bodies and our families bodies with Class 1 radiation.

WE DO NOT CONSENT.

The Judge declared Mark Steele as a credible engineer and expert on EMF and LED
technologies, which proves Gateshead Council are liable for corruption, misleading
the public, making people ill and attempting to discredit Mark Steele and all
others speaking the truth about the hazards of EMF and 5G.

Councils are struggling at the moment, over 50% are almost bankrupt because over half of their
resources are being spent on the increase of Adult Wellbeing Care, due the increase in illness and

disability.

https://smombiegate. org/britains—first-5; 'g-court-case-and-the-people-won/
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December 2017

The California Department of Public Health (CDPH) just issued recommendations to reduce
microwave radiation exposures from cell phones, especially for children. Spurred by a lawsuit and
research suggesting that “long-term, high use may impact human health,” the CDPH press release
includes guidance on why and how to reduce cell phone radiation. The newly released guidance
focuses only on cell phones cautioning that “children may be more at risk” because they will be
exposed to cell phone radiation for a “lifetime” and with radiation exposures deeper into their brain.

According to Dr. Joel Moskowitz of the University of California at Berkeley, “The research indicates
that cell phone radiation poses a major risk to health... State and federal health agencies have
not kept up with the research.” Moskowitz was the plaintiff in a lawsuit filed under the California
Public Records Act by the Environmental Law Clinic at UC Berkeley Law and the First Amendment
Project that resulted in the March 2017 Sacramento Superior Court order to release the 27 drafis of the
CDPH cell phone advice.

“This is a major victory for Californians as our government is admitting, despite industry
attempting to silence them, that cell phones pose serious health risks. This vindicates what San
Francisco, Berkeley and California were attempting. Consumers deserve the right to this information
and we applaud the CDPH for releasing this valuable potentially life saving information,” stated Ellen
Marks of the California Brain Tumor Association who led a public demonstration outside of the CDPH
offices in July, calling for public disclosure of health department warnings about wifi and cellular

phones.

https://ehtrust.org/ caljfornia-releases-cell-phone-warnings-first-issued-decade-ago-top-cancer-center/

Legal Victory Against Smart Meter Scam in New Mexico:
Radiation-Emitting Surveillance Devices “Not in the Public Interest”

April 2018

The Public Regulation Commission has denied PNM’s application for Smart Mcters to be applied
across the State. “The plan presented in the Application does not provide a net public benefit and it
does not promote the public interest,” wrote the Commission.

The Commission accepted the Hearing Examiner’s recommended decision without alteration. It ruled
that:

° PNM did not demonstrate that smart meters will save money.

« PNM did not demonstrate that smart meters will produce energy efficiency.

° PNM did not show that customers want smart meters.

e PNM did not evaluate alternatives.

° PNM did not say how it would protect customer data privacy.

° Cybersecurity issues need to be addressed.

© 125 good, high-paying jobs would be lost.

© Proposed opt-out fees were unreasonable.

° There was insufficient public input.

° There was insufficient response by PNM to public objections.

EVIDENCE ABOUT HEALTH EFFECTS was discussed at length. “Customers who have strong
feelings about the health effects of the meters should be allowed to protect their stated health concerns

without a prohibitively high cost.”
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The decision goes on to state: “The conditions of the portion of the population who are
electromagnetically sensitive deserve acknowledgment and consideration as decisions are made
regarding the implementation of an AMI Project. Accommodations could include reasonable opt-out
provisions and fees and perhaps the selection of technologies that minimize the impacts on such
people. Such accommodations may be desirable to minimize health risks to customers and address the
needs and preferences of PNM’s customers. These are issues that can and should he addressed in a
public input process of the sort PNM stated in its 2012 Report that it would conduct before bringing a
smart meter proposal to the Commission for approval.”

The decision means there will not be smart meters in the near future in New Mexico’s
metropolitan areas: Santa Fe, Albuquerque, Las Vegas, Clayton, Ruidoso, Tularosa, Alamogordo,
Silver City, Lordsburg and Deming.

https://safehelpsyou.org/2018/04/12/ smart-meters-banned-in-nm-cities/

Fifth Court in Italy Ruled Cell Phones Cause Brain Tumors and Determined It Is An
Occupational Disease

Written by: Martine Vriens, Director of International Legal Affairs for We Are The Evidence

January 2019, an Italian Court in the city of Monza, Italy ruled that the Acoustic Neuroma brain tumor
of an airport employee was caused by exposure to the radiation from a cell phone he used for over 10
years for his work. The court determined that the tumor has permanently incapacitated him, and

ruled it to be an occupational disease.

This is the fourth case in which the courts in Italy determined that an Acoustic Neuroma type brain
tumor was caused by a cell phone, and the fifth court to make such ruling as in the first case the court
decision was appealed and later confirmed by Italy’s Supreme Court.

The importance of the decision is not only that it’s another Italian Court decision that establishes the
link between brain tumors and exposure to Radio-Frequency/Microwave Radiation that is
emitted from cell phones, but also by recognizing that if the exposure to electromagnetic radiation
(EMR) was necessary for the purposes of work, the Acoustic Neuroma tumor may be considered an
Occupational Disease.

Acoustic Neuroma, also known as Vestibular Schwannoma is a tumor which develops on the main
nerve leading from the inner ear to the brain. This nerve influences balance and hearing, and pressure
from an acoustic neuroma can cause hearing loss, ringing in the ear, and unsteadiness. Occasionally, it
can interfere with brain functioning.

It is important to mention that in the National Toxicology Program study of the US Federal
government, the tumors that were found to be caused by exposure to cell phones’ radiation are
schwannoma type tumors.

https://wearetheevidence.org/fifth-court-in-italy-ruled-cell-phones-cause-cancer-and-determined-it-is-
an-occupational-disease
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French Court Recognized Electromagnetic-Sensitivity as an Occupational Disease
Written by: Martine Vriens, Director of International Legal Affairs for We Are The Evidence

January 2019, the French Court of Cergy-Pontoise ruled that Electromagnetic Hyper Sensitivity
(EHS) is an occupational disease that can be developed also from exposure to levels of radiation
which are considered to be safe by the government (if they can be injurious as the court ruled
then they are clearly unsafe).

The importance of the decision is not only that it’s another decision which recognizes EHS /
Microwave Sickness as a condition caused by exposure to wireless radiation but by recognizing that if
the exposure to electromagnetic radiation was for the purposes of work, the EHS developed from the
exposure may be considered an Occupational Disease. This decision should make employers

concerned as it may lead to widespread liability.

This decision joined other decisions by courts in France that recognize EHS (also known as Microwave
Sickness, which is the older more accurate name). Another decision from France, from September
2018, recognized that an employee was injured in an accident at worl as a result of exposure to
wireless radiation because of the employer’s failure to accommodate his Microwave Sickness and re-

assign him to a different position with less exposure.

https://wearetheevidence.org/french-court-recognized-clectromagnetic-sensitivity-as-an-occupational-
disease/

5) Examples of Legislature to Avert the EMF Caused Climate Change Crisis

May 2015, Berkeley, CA Cell Phone “Right te Know” Ordinance-Recieved Unanimous Vote. “If
you carry or use your phone in pants or shirt pocket or tucked into a bra when the phone is ON and
connected to a wireless network, you exceed the federal guidelines for exposure to RF radiation. Refer
to the instructions in your phone or user manual for information about how to use your phone safely.”

3014 — Wireless Router Labeling in all Suffolk, NY Public buildings: Legislation requires all county
buildings to post notices that wireless routers are in use such as, “Notice: Wireless technology in use.”
The resolution, sponsored by Legis. William Spencer (a physician), warns that every wireless device
emits radio frequency radiation or microwave radiation. It notes that non-industry funded studies “that
have looked at the effects of low-level RFR radiation on human celis and DNA have shown clear
evidence of harm.”

United States Limits on HLE-EMEF

So far, 6 states have ELF exposure limits for various situations.

_ Florida, Minnesota, Montana, New Jersey, New York, Oregon, and several states have a prudent
avoidance policy.

Prudent Avoidance
California: requirement to include EMF reduction measures in new power-line projects up to

5% of project cost, plus specific provisions for schools

Colorado, Maryland: prudent avoidance decided through a specific siting case which set
precedent and was subsequently applied to all new siting applications
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» New Jersey: more of a practice than a policy
Connecticut, Hawaii: formal policy
- Ohio: requires utilities to “prudently address” EMF issues

. Pennsylvania: staff handling siting applications expect evidence of prudent avoidance but has
never been set down as formal policy

Note: Information on ELF in the US was sourced from emfs.info which is a website of the power
companies that tracks policy.

California Regulations to Limit ELEF-EMF Near Schools

. The California Department of Education enacted regulations in the California Code of
Regulations, Title 5, Section 14010 that require minimum distances between a new school and
the edge of a transmission line “right-of-way.” The setback distances are 100 feet for 50-133 kV
lines, 150 feet for 220-230 kV lines, and 350 feet for 500-550 kV lines.

PUBLIC SCHOOLS

2017 — Maryland State Children’s Environmental Health And Protection Advisory Council
Recommendations Laws For Wired Internet In Schools and Minimizing RF Classrooms:

The Maryland State Children’s Environmental Health and Protection Advisory Council
(CEHPAC) issued a Report advising the Department of Education to recommend local school
districts reduce classroom wireless radiation exposures by providing wired—rather than
wireless—intemet connections.

“A wired local area network (LAN) can provide a reliable and secure form of
networking...without any microwave exposure to our children.”

2017 — Montgomery County Maryland Chromebook Policy states that laptops should stay on
tables and not on laps.

Los Angeles, California Public Schocls Recommends Cautionary Exposure Levels at 10,000 Less
than the FCC

The LA School District Uses an RF-EMF Exposure Threshold 10,000 Less Than the FCC
Limits but not biologically protective because published peer revised science indicates adverse
effects at levels even below these LAUSD limits.

Los Angeles, California Public Schools Bans Cell Towers on School Property

2009 adopted resolution —- LA School board wrote a resolution banning cell towers from schools
and recommending against WiFi.

- 2009 Resolution Condemning Cell towers NEAR Schools as was this T-Mobile Cell Tower
across the street from an elementary school.

- 2000 LA School Board Resolution Opposing Cell Tower Placement on. Schools — Calls for
precautions with wireless. ‘Whereas, Recent studies suggest there is evidence that radio-
frequency radiation may produce “health effects” at “very low field” intensities’.

From a human health standpoint, the RFR measurements need to include peak readings in
addition to the cumulative length of time children are exposed to RF radiation in order to fully

understand their exposure. Until these measures are taken, one cannot adequately evaluate the
EMF environment.
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$1864 An Act Relative to utilities, smart meters and ratepayer’s rights
https://malegislature.gov/Bills/190/S1864

This bill states the following:
The department of public utilities shall direct utility companies to provide ratepayers the following:

(1) a choice of the type of utility meters to be installed and operated on their places of residence,
property or business; among the choices offered shall be the installation and ongoing operation of an
“electromechanical analog meter”; and

(2) the ability to retain and operate an “electromechanical analog meter” on an ongoing basis at no cost;
and

(3) the right to replacement of a wireless meter with a non-transmitting electromechanical meter at no
cost.

1. c) The utility companies shall be required to obtain the ratepayer’s written consent:
(1) before installing wireless meters or “equivalent technology” on the ratepayer’s property and
(2) before altering the functionality of said meters.

1. d) The utility companies shall provide written notice to ratepayers within 90 days of the
effective date of this act for the purpose of informing said ratepayers if wireless meters have
been installed on their properties. Ratepayers shall have the right to request that the utility
companies remove said wireless meters and install in their place electromechanical analog
meters that emit no radiofrequency electromagnetic radiation. There shall be no cost or other
periodic usage charges to the ratepayer for such removal, replacement installation, and use of a
non-wireless utility meter. The utility company shall promptly comply with such removal and
replacement installation request made by the ratepayer to said company.

2. e) Utility companies are: .

(1) prohibited from shutting off service to a ratepayer based on the ratepayer’s utility usage or on the
ratepayer having electromechanical analog meters;

(2) prohibited from imposing any disincentive on a ratepayer for not consenting to the installation or
use of wireless meters;

(3) required to notify ratepayers in writing that the installation and use of wireless meters are not
mandated by state or federal law and are not permitted without the ratepayer’s consent;

(4) prohibited from discriminating against ratepayers who may have medical conditions that are
exacerbated by exposures to pulsed microwave radio frequencies; and

(5) prohibited from installing “equivalent technology”, such as direct wireless connection to devices in
the home or business. on poles or in any other manner near the home or business of an individual
requesting a non-transmitting meter.

1. £) The department of public utilities shall establish terms and conditions to comply with the

requirements of this section.
2. g) This section shall take effect upon its passage.

S 2080 — An Act increasing medical awareness and insurance coverage of non-ionizing radiation
injury and reliance upon credible independent medical research.

https://malegislature.gow/Bills/190/S2080
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“The board shall require that any continuing education necessary for the renewal of a physician’s
certificate of registration shall include updated, current training and education on the diagnosis,
treatment, and care of patients impacted by non-ionizing radiation. This training shall recognize
Electrohypersensitivity (EHS) as a functional impairment. Training shall recognize that non-
ionizing radiation influences many other biological systems, thus impacting health and disease
conditions, and that exposure to man-made non-ionizing radiation should be avoided unless
proven medical benefit and patient approval is acquired.

The board shall require that medical science, practice, education, and treatment be based not only on
clinical experience and traditional medical practices, but also on the sum of current knowledge and
reasonable interpretations from scientific knowledge.”

“Blectrohypersensitivity,” or “EHS,” is an aspect of Idiopatiuc Environmental Intolerance (IED)
attributed to non-ionizing radiation from devices such as mobile phones or electrical equipment.
Persons with electromagnetic sensitivity experience discomfiture, painful sensations, or functional
impairment at lower levels of non-ionizing radiation exposure than compared to non-EHS individuals.
Symptoms vary in character and magnitude depending on the individual, electromagnetic frequencies,
power level, and length of exposure. In the early stages removal of non-ionizing radiation may lead to
improvement, but intense or continuous exposure can lead to permanent sensitization and disability.
EHS is currently determined by clinical diagnosis, laboratory testing in context, and history. Diagnosis
may include an examination of nitric oxide production, mitochondriopathy, oxidative stress-lipid
peroxidation, melatonin status, and inflammation. Additional diagnostic tests may include 24-hour
ECG, 24-hour HRV, 24-hour blood pressure monitoring, and sleep EEG.

Research

They will take under consideration “Reasonable interpretations shall mean recommendations of
beneficial health practices, foodstuffs, and nutrients shall be reasonable.....

Clearly credible laboratory and epidemiological scientific studies” shall mean all relevant scientific
research that demonstrates sufficient control of subjects, time, and materials to prevent corruption of
data or false conclusions. The small size or short length of a study in itself shall not necessarily mean
lack of credibility, although small size or short length requires acknowledgement that impacts on larger
or more diverse populations or in the long term are lacking. However, conflicts of interest in research
funding or other financial interest shall, when existing, need to be negligible to be considered
moderately credible and shall be acknowledged as lacking full independence and therefore lacking full
credibility.”

Provide Guidance on RE EMR Exposures

“Non-ionizing radiation reduction guidance,” shall include personalized guidance on reducing
exposures as well as information on how to conduct measurements to avoid dangerous exposures.
Measurement instruction shall include information on finding equipment, consultants, and assessing 60
hertz electrical and magnetic fields, harmonics, transients, and the range of legal frequencies.

S 2079 An Act reducing non-ionizing radiation exposure in schools.
https://malegislature.gov/Bills/190/S2079

SECTION 1. Section 1 of chapter 69, as appearing in the Official 2014 Edition, is hereby amended by
inserting after the first paragraph the following paragraph:-

The board shall as a matter of policy promote the reduction of non-thermal non-ionizing radiation
exposures to students and staff in public schools, encouraging school districts to choose paper and pen
over regular use of technology to avoid potential harm. The board shali establish a policy to insure
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school districts reduce non-ionizing non-thermal radiation exposures, including harmonics, transients,
and fields deriving from close contact with electricity. The board shall increase staff and student
education of potential harms of non-thermal non-ionizing radiation. The board shall recommend
elimination of wireless communications in all schools. As a matter of policy and to avoid penalizing
schools, the board shall consider all public school accountability measures requiring use of technology
as “not applicable,” refusing to accept or consider such accountability measures in schools which do

not use or which significantly reduce use of technology.

Anew law signed by California Governor Gavin Newsom allows schools to determine ways to reduce
or eliminate the use of cell phones in school.

AB 272 (Muratsuchi 2019), authorizes schools, public and charter, to adopt a policy to prohibit cell
phone use when at school or under the supervision of school employees, except under circumstances
such as emergencies, permission by teacher, a medical need or for individualized instruction.

Student Academics and Weil Being Improve without Cell Phones

Cell phones have become ubiquitous both inside and outside of classrooms in America. Studies are
confirming that they are distracting and hinder learning.

The London School of Economics published a paper, Technology, Distraction & Student
Performance.in 2015. They surveyed 91 schools in four English cities that banned cell phones, and
found that student performance in high stakes exams significantly increased after the ban was in place.
They noted that the most significant gains in pupil performance were made by the most disadvantaged
and underachieving pupils. The study concluded that “schools could significantly reduce the education
achievement gap by prohibiting mobile phone use in schools.” They underscored the need for strict and
wide implementation of the cell phone ban in order to be successful.

Thornton et al (2014) in their article, The Mere Presence of a Cell Phone May be Distracting:
Implications for Attention and Task Performance,clearly supported earlier research showing that
even if the phone is off but visible it is a distracting influence. This has implications for both
meaningful social interaction as well as school performance.

Wisconsin and San Mateo, California Cell Phone Bans are a Success

In 2018, many Wisconsin School District banned cell phones with only positive results. San Mateo in
2019 adopted a cell phone ban during school hours in order to improve students’ academic scores as
well as their social well-being. An NBC news reporter interviewed a student about the program. She
stated, “At first, I was skeptical. But now, I like it because it makes students socialize more amongst
each other, and teachers say students are talking to each other more rather than being zoned out on their

phones.”
France Bans Smartphones in Schools to Reduce Distraction

French lawmakers in 2018 passed legislation banning students age 3 to 15 from bringing smartphones
and tablets to school. Officials stated this is to reduce EMF exposure, distractions from the phones,
help prevent phone addiction, and safeguard the sanctity of the classroom.

China Bans Cell Phones in Schools to Protect Children’s Eye’s

Because of the growing evidence for the risk of eye damage from digital screens and concerns with
myopia China has banned cell phones from classrooms.The Ministry of Education and the National
Health Commission in China has banned the use of cell phones and tablets in classrooms in Shandong

province and asked parents and teachers to:

NA RAL.
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Not rely on electronic devices for teaching and assignments and use written assignments
- Limit children’s use of electronic screens not more than one hour a day and not exceed 15

minutes in a single session

Keep proper distance from eyes and screes

Have sufficient backlighting

Colleges and Law Schools Banning Laptops

The 2014 Princeton and UCLA study, The Pen is Mightier Than the Keyboard: Advantages of
Longhand Over Laptop Note Taking, showed that handwritten note taking improved test
performance as well as long term retention of information. “The studies we report here show that
laptop use can negatively affect performance on educational assessments, even—or perhaps especially
_—when the computer is used for its intended function of easier note taking.

https://legiscan.com/MS/text/HB1110/2019— An Act Concerning Public Schools — Health And

Safety Guidelines And Procedures — Digital Devices. “What a growing body of research does
indicate, however, is that excessive computer use by children leads to several concrete negative health
effects. These include vision problems, disturbance in sleep patterns, social-emotional disturbance, and
addiction to digital devices.”

Screen Schooled: Two Veteran Teachers Expose How Technology Overuse Is Making Our Kids
Dumber In 2017 Joe Clement and Matt Miles, both teachers for decades,released their book, Screen
Schooled. In it they describe, with engaging details and stories, their experience before and after digital
technology was introduced in their schools. They found that instead of enhancing learning, this
technology was harming students education and social well-being.

https://mdsafetech.org/201 9/09/29/new-california-law-bans-cell-phones-in-classroom

6) Legal Obligation of Michigan Legislators to Uphold Their Oath of Office to
The Constitution of The United States of America, The Michigan
Constitution and The Public Trust Doctrine. Public Office is Public Trust.

PUBLIC TRUST DOCTRINE
Rooted in Roman law, the public trust doctrine recognizes the public right to many natural resources
including “the air, running water, the sea and its shore.”
https://www.watereducation.org/ aquapedia/public-trust-doctrine

Public Trust Doctrine refers to a common law doctrine creating the legal right of the public to use
certain lands and right of ways, free from harm...The Public Trust Doctrine arises from the fact that
Trust lands are special in nature physically and legally. Historically, the public use of these lands was
crucial for sustenance, travel, and commerce.

https://definitions.uslegal.com/p/public-trust-doctrine/

Public Office is Public Trust

The concept of the public trust relates back to the origins of democratic government and its seminal
idea that within the public lies the true power and future of a society; therefore, whatever trust the
public places in its officials must be respected. One of the reasons that bribery is regarded as a

notorious cvil is that it contributes to a culture of political corruption in which the public trust is
oded. Other issues related to political corruption and betrayal of public trust are Ighhving and

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special interest groups.
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A public good is a good that is both non-excludable and non-rivalrous in that individuals cannot be
excluded from use and where use by one individual does not reduce availability to others.

Clarke, Alison; Paul Kohler (2005). Property law: commentary and materials. Cambridge University
Press. p.207. ISBN978-0521614894.

Public goods include knowledge, official statistics, national security, common language(s), flood

control systems, lighthouses, and street lighting. Cowen, Tyler (December 2007). David R. Henderson
(ed.). The Concise Encyclopedia of Economics. Public Goods. The Library of Economics and Liberty.
Archived from the original on 28 March 2010. Retrieved 19 February 2010.

A public space is a place that is generally open and accessible to people. Reads (including the
pavement), public squares, parks and beaches are typically considered public space.
Caves, R. W. (2004). Encyclopedia of the City. Routledge. p.549. ISBN9780415252256.

Public property is property that is dedicated to public use and is a subset of state property. Clarke,
Alison; Paul Kohler (2005). Property law: commentary and materials. Cambridge University Press.
p.207. ISBN978-0521614894.

State ownership is the ownership of an industry, asset, or enterprise by the state or a public body
representing a community as opposed to an individual or corporation. Public ownership can take
place at the national, regional, local, or municipal levels of government.

Public Ownership". Oxford Dictionaries. Retrieved January 25, 2018. Ownership by the government of

an asset, corporation, or industry.

The Public Trust Doctrine provides citizens with assurances that Public Spaces will be
maintained for the public good, by the Public Office (Governor, House and Senate) via public
trust and accessible to everyone in The State of Michigan for facilitating activities of daily life.

5G/LEDs/Smart Meters threatens this by placing UNMEASURED sources of EMF on public rights of
ways which effect how the human body absorbs oxygen, as EME has been shown to impede red blood
cells ability to carry oxygen inside the body and LEDs have been shown to cause irreversible blindness.

Excerpt from Dr. Gabriel Cousens, M.D. website:
It is concerning that at least eleven international agreements are violated by 5G. Many
international agreements for the protection of humanity are being explicitly violated, including:

The United Nations Convention on the Rights of the Child states that States shall “undertake
to ensure the child such protection and care as is necessary for his or her well-being” (art.
3),“ensure... the survival and development of the child” (art. 6) and “take appropriate measures
to combat disease...taking into consideration the dangers and risks of environmental pollution”
(art. 24(c)).

The Nuremberg Code (1949) applies to all experiments on humans, thus including the
deployment of 5G with new, higher RF/MW radiation exposure that has not been pre-market
tested for safety. “The voluntary consent of the human subject is absolutely essential” (art.
1). It is obvious that the majority of the humans exposed to 5G will be involuntary. “No
experiment should be conducted, where there is an a priori reason to believe that death or
disabling injury will occur”(art. 5). The findings of over 10,000 scientific studies and the
voices of hundreds of international organizations representing hundreds of thousands of
members who have suffered disabling injury and been displaced from their homes by already-
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existing wireless telecommunications facilities, are “a priori reasons to believe that death or
disabling injury will occur” (see attached Press Release requesting WHO to recognize the
already EMF injured globally).

The Declaration of the United Nations Conference on the Human Environment (1972) has
also been violated: “The discharge of toxic substances... in such quantities or concentrations as
to exceed the capacity of the environment to render them harmless, must be halted in order to
ensure that serious or irreversible damage is not inflicted upon ecosystems” (principle 6).

The World Charter for Natare (1982) has also been violated: “Activities which are likely to
cause irreversible damage to nature shall be avoided... [W]here potential adverse effects are not
fully understood, the activities should not proceed” (art. 11).

The Rio Declaration on Environment and Development (1992) has also been violated:
“States have... the responsibility to ensure that activities within their jurisdiction or control do
not cause damage to the environment of other States or of areas beyond the limits of national
jurisdiction” (principle 2).

» The United Nations World Summit on Sustainable Development (2002) has also been
violated:“There is an urgent need to... create more effective national and regional policy
responses to environmental threats to human health” (para. 54(k)).

The African Convention on the Conservation of Nature and Natural Resources (2017) has
also been violated: “The Parties shall... take all appropriate measures to prevent, mitigate and
eliminate to the maximum extent possible, detrimental effects on the environment, in particular
from radioactive, toxic, and other hazardous substances and wastes” (art.13).

The Universal Declaration of Human Rights:“Everyone has the right to life, liberty and
security of person” (art. 3).

The United Nations Global Strategy for Women’s, Children’s and Adolescents’ Health
(2016-2030) has as objectives and targets to “transform”, by expanding enabling environments;
to “survive”, by reducing maternal and newborn mortality; and to “thrive” by ensuring health
and well-being and reducing pollution-related deaths and illnesses.

The Outer Space Treaty (1967) requires that the use of outer space be conducted “so as to
avoid [its] harmful contamination and also adverse changes in the environment of the

Earth” (art. 1X).

The United Nations Guidelines for The Long-Term Sustainability of Outer Space
Activities (2018): “States and international intergovernmental organizations should address...
risks to people, property, public health and the environment associated with the launch, in-orbit
operation and re-entry of space objects” (guideline 2.2(c)).

The violation of these international agreements, given the knowledge of the seriously detrimental
physical, emotional, and mental effects of 5G, is a serious violation. In the bigger picture, many feel
5C js an effort to dominate and limit consciousness and to ultimately decimate human
civilization. It would be very difficult in discussing 5G caused Climate Change not to see this as a
purposeful destructive effort, by people who have knowingly chosen to participate in these
platantly destructive efforts, given the knowledge of 5G that we have today.

Time is of the essence. Since local, state, federal and international action can take time,
especially through a judicial process, we must make haste given the urgency and imminent
threat of 5G. Therefore, the most powerful thing we can do is write protective legislature.

Dr. Gabriel Cousens, MD
http://treeoflifecenterus.com/5 g-a-toxic-assault-on-the-planetary-web-of-life/
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The Citizens of Michigan are respectfully asking Legislators to do their job and stop 5G until
further studies have MEASURED EMF LEVELS and proven the safety of adding even more
EMF to what is currently not being measured in public spaces, rights-of-ways, school, offices,
POLICE STATIONS, commercial centers, stadiums, parks, homes, and more.

This Technology IS NOT INSURABLE DUE TO THE LARGE RISKS. That fact alone, leaves the
door wide open for litigation of all types, which is beginning to happen and will only increase.

It seems prudent to pause 5G until WE INDEPENDENTLY MEASURE THE CURRENT EMF
LEVELS AND DETERMINE IF CURRENT EXPOSURE IS SAFE OR NOT. Worldwide, people are
waking up to the fact that EMF is the largest medical experiment on humanity, taking place without our
knowledge or informed consent, to the detriment of privacy, our health, our finances and our future.

We are respectfully asking and expecting Michigan Legislators to uphold their Oath of Office.

The Preamble to The Constitution of America states: We the People of the United States, in order to
form a more perfect Union, establish justice, insure domestic tranquility, provide for the common
defense, promote the general welfare, and secure the blessings of liberty to ourselves and our
posterity, do ordain and establish this Constitution for the United States of America.

5G in addition to the current UNMEASURED EMF exposure completely destroys the option for health
and well being. 5G eradicates privacy, health and liberty for us all, and our future.

The Constitution of The State of Michigan: PUBLIC OFFICE IS PUBLIC TRUST

Article 1, § 2 Equal protection; discrimination.

No person shall be denied the equal protection of the laws; nor shall any person be denied the
enjoyment of his civil or political rights or be discriminated against in the exercise thereof because
of religion, race, color or national origin. The legislature shall implement this section by
appropriate legislation.

Article 4, § 51 Public health and general welfare.
The public health and general welfare of the people of the state are hereby declared to be matters

of primary public concern. The legislature shall pass suitable laws for the protection and
promotion of the public health.

Thank you for quickly stopping 5G and working to measure EMF exposures in PUBLIC SPACES.
The health of our future depends on the ability of Legislators to uphold their oath of office and fulfill
their job duty by protecting public health and general welfare with appropriate legislation.

“The 5G rollout is absolutely insane.” ~ Dr. Martin Pall, addressing the NIH

“Allowing this technology to be used without proving its safety is reckless in the extreme, as the
millimeter waves are known to have a profound effect on all parts of the human body.”
~ Prof. Trevor Marshall, Director, Autoimmunity Research Foundation, California

“The plans to beam highly penetrative 5G milliwave radiation at us from space must surely be
one of the greatest follies ever conceived of by mankind. There will be nowhere safe to live.”
~ Olga Sheean, former WHO employee and author of No Safe Place
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Please take the time to visit the websites below for scientific facts and studies from

independent, respected sources. See the links also for court cases upholding citizens
Constitutional, Civil, Legal and Human rights, despite telcoms fraudulent lobbying efforts.

Websites for More Information

www.takebackyourpower.net/5 g-network-uses-same-emf-waves-as-pentagon-crowd-control-system/
www.takebackyourpower.net/watch-take-back-your-power-2017/

Physicians for Safe Technology: www.mdsafetech.org

Environmental Health Trust: www.ehtrust.org

Wireless Injury Advocacy Group: www.wearetheevidence.org

Advocacy Group for Kids Health: www.childrenshealthdefense.org

Smart Meter Safety Group: www.michiganstopsmartmeters.com

Facebook group with good info: www.MichiganSafeTechnology.com

Dr. Martin Pall: www.principia-scientific.org/top-scientist-5 g-is-criminally-insane-will-fry-living-
things/

www.smartmetereducationnetwork.com

Internet videos with really good information

5G Genocide~ Dr.Barrie Trower: www.bitchute.com/video/ge4X7TH9eHGQY/

Dr. Sharon Goldberg (Testified to the Michigan House of Representatives in 2018):
www.collective-evolution.com/2018/10/26/veteran-md-drops-bombshell-at-michigans-5 g-small-cell-
tower-legislation-hearing/

www.citizensfor5 gawareness.org/dr-sharon-goldberg/

www.corbettreport.com/5g/

Seeking the Truth, Knowledge is Power: www.bitchute.com/video/lj Ywrahbc24/
